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                    EXHIBIT 2
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                                                                                  EXECUTION COPY



                                        ASSET TRANSFER AGREEMENT


        THIS ASSET TRANSFER AGREEMENT (this “Agreement”), dated April 16, 2010, is
by and among each of (i) Rhodes Arizona Properties, LLC, a Nevada limited liability company
(“RAP”), (ii) Elkhorn Investments, Inc., a Nevada corporation (“EII”), and (iii) Rhodes Homes
Arizona LLC, an Arizona limited liability company (together with RAP and EII, the “Arizona
Entities”)), and Sagebrush Enterprises, Inc., a Delaware corporation (“Purchaser” and
collectively with the Arizona Entities, the “Parties”).

                                                  RECITALS

        A.     WHEREAS, on either March 31, 2009 or April 1, 2009, the Arizona Entities, as
well as certain other affiliated entities, each filed voluntary petitions for relief (the “Voluntary
Petitions”) under chapter 11 of the United States Code, 11 U.S.C. § § 101-1532 (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Nevada (the
“Bankruptcy Court”).

        B.      WHEREAS, the Arizona Entities desire to transfer certain of their respective
assets listed on Schedule I and Schedule II to Purchaser (the “Arizona Assets”) at the Closing, in
the manner and subject to the terms and conditions set forth herein and as authorized under
sections 105, 363 and 365 of the Bankruptcy Code. All other assets of the Arizona Entities shall
be retained by the Arizona Entities and excluded from the transfer, including, without limitation,
any rights and obligations associated with the Stanley litigation that is currently pending in the
County of Maricopa Superior Court for the State of Arizona entitled Rhodes Homes Arizona,
LLC v. Stanley Consultants, Inc., Case No. CV 2006-011358.

        C.     WHEREAS, although owned by the Arizona Entities, the title of the Arizona
Assets listed on Schedule II is currently not titled in the name of the Arizona Entities and is the
subject of a request by the Parties pending in the Bankruptcy Court to quitclaim title back to the
Arizona Entities.

        NOW, THEREFORE, in consideration of the promises, the respective representations,
warranties, covenants and agreements contained in this Agreement, and other good and valuable
consideration the receipt and sufficiency of which are hereby acknowledged, and intending to be
legally bound, the Parties agree as set forth below.
                                               ARTICLE 1
                                       TRANSFER OF ARIZONA ASSETS

          1.1       Transfer of Arizona Assets.

                         (a)     Transfer. At the Closing, all of the Arizona Entities’ right, title and
                 interest in and to the Arizona Assets shall be sold free and clear of all pledges, liens,
                 security interests, encumbrances, claims, charges, options and interests thereon and
                 there against (collectively, the “Interests”) in accordance with Bankruptcy Code §
                 363(f), with such Interests to attach to the net proceeds of the sale of the Arizona


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              Assets, except as to permitted encumbrances that are identified by the Bidder prior
              to the Closing with the consent of the Arizona Entities.

                      (b)     Assumed Liabilities. At the Closing, Purchaser shall assume and
              become responsible for only the following liabilities and obligations of the Arizona
              Entities: (i) all liabilities under the contracts listed on Schedule 1.1(b)(i) (the
              “Assumed Contracts”) whether arising before or after the Closing, and (ii) any
              amounts required by section 365(b)(1) of the Bankruptcy Code to cure any defaults
              by the Arizona Entities under an Assumed Contract and to pay any actual pecuniary
              losses that have resulted from such defaults under such Assumed Contract. If the
              Purchaser is not the Successful Bidder under the Bidding Procedures and the
              Successful Bidder does not want to assume any or all of the Assumed Contracts,
              then the Purchaser shall accept assignment of any such Assumed Contract upon
              written notice by the Debtors to the Purchaser.

               (c)      Bond. At the Closing, the Purchaser shall, at its sole election, either (i)
        assume, replace, or post cash in lieu of that certain early grading/street alignment bond in
        the amount of $250,000 issued by Bond Safeguard in favor of the County of Mohave
        dated May 9, 2006 (further identified as Bond Safeguard Bond No. 5022081) (the
        “Original Bond”), with a grading bond of equal amount in form and substance acceptable
        to the Arizona Entities, or (ii) if the Purchaser does not assume or replace the Original
        Bond, then by this Agreement the Purchaser agrees that it shall indemnify and hold
        harmless the Arizona Entities for all loss, cost, damages, claims, demands or payments,
        including but not limited to consequential damages, that arise in connection with or
        relating to the Original Bond, which indemnification shall be supported by a first priority
        deed of trust to be recorded against the Arizona Assets in favor of the Arizona Entities.

        1.2     Closing. The closing (the “Closing”) of the transactions contemplated hereby
(the “Transactions”) will take place on the date (the “Closing Date”) that is five business days
following the date that the Sale Order (as hereinafter defined) has been entered by the
Bankruptcy Court (or such other date mutually acceptable to the Arizona Entities and Purchaser)
at the offices of Greenberg Traurig, LLP, 3773 Howard Hughes Parkway, Suite 400 North, Las
Vegas, NV 89169.

        1.3    Purchase Price. At the Closing, Purchaser shall pay to the Arizona Entities, by
wire transfer of immediately available funds, an amount in cash equal to $1,222,999, plus any
Overbid (as such term is defined in the Bidding Procedures Order (as hereinafter defined)) (the
“Purchase Price”), by wire transfer to the account designated by the Arizona Entities to
Purchaser.

        1.4    Deposit. Concurrent with Purchaser’s execution of this Agreement, Purchaser
shall open an escrow (the “Escrow”) with Nevada Title Company (“Escrow Holder”), and shall
deposit an amount equal to the fifty percent (50%) of the Purchase Price into Escrow, which shall
be invested in an interest-bearing account or shall post an irrevocable letter of credit in favor of
the Arizona Entities (the “Cash Deposit”). In addition, concurrent with Purchaser’s execution of
this Agreement, Purchaser shall provide a letter from a financial institution showing proof of
funds for the remaining 50% of the Purchase Price, or $611,499.50, which letter shall be


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reasonably acceptable to the Arizona Entities. The Cash Deposit and any interest earned thereon,
together with the Letter of Credit and any proceeds from draws therefrom by the Arizona Entities
or Escrow Holder are hereinafter collectively referred to as the “Deposit”. The Deposit shall be
applied toward the payment of the Purchase Price upon the Closing, and shall be non-refundable
(except if the Closing fails to occur because of the failure of one of Purchaser’s Conditions
Precedent set forth in Section 4.1(a), and terminated pursuant to Section 4.3 hereof). Any other
amounts due from Purchaser in connection with the Closing, including but not limited to closing
costs, escrow fees and pro-rated real property taxes, shall be payable in cash by wire of funds
into the account of Escrow Holder upon the Closing.

        As a covenant which shall survive the Closing: (i) all income and expenses relating to
the Arizona Assets (including property taxes and assessments) shall be prorated as of and
including the Closing Date, (ii) all supplemental taxes, front foot benefit charges, and similar
expenses billed after the Closing Date for periods prior to the Closing Date will be paid promptly
by the Arizona Entities, and (iii) any refunds for same received by Purchaser which are allocable
to the period prior to the Closing Date will be paid promptly by Purchaser to the Arizona
Entities. Purchaser shall be responsible for paying (i) its due diligence costs, (ii) title insurance
premiums for the any title policy obtained by Purchase in connection with the Arizona Assets,
(iii) one-half of the fee of Escrow Holder, and (iv) in the event Purchaser obtains an ALTA
survey, the cost of such survey. Arizona Entities shall be responsible for paying for one-half of
the fee of Escrow Holder. All other normal closing costs shall be paid in accordance with the
custom of the county in which the Arizona Assets are located. The parties shall execute such
additional instructions reasonably required by Escrow Holder, provided that if there is a conflict
between such instructions and this Agreement, the terms of this Agreement will govern.

        1.5        Deliveries. On the Closing Date,

                    (a)    The Arizona Entities shall deliver or cause to be delivered to Purchaser:

                           (i) a bill of sale and a quit claim deed, each duly executed by the
                     Arizona Entities in the forms of Exhibits A and B hereto;

                            (ii) such other bills of sale, certificates of title or origin, deeds,
                     assignments and other instruments of transfer or conveyance or as may be
                     otherwise necessary to evidence and effect the assignment and delivery of the
                     Arizona Assets to Purchaser; and

                  (b)    the Purchaser shall deliver or caused to be delivered the Purchase Price
          to the Arizona Entities and the replacement to the Original Bond, if applicable.

                (c)    The documents listed in (a) above shall be referred to as the
          “Transaction Documents”.

                                    ARTICLE 2
                   REPRESENTATIONS AND WARRANTIES OF PURCHASER

        Purchaser represents and warrants that the statements contained in this ARTICLE 2 are
true, correct and complete on the date hereof.


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        2.1    Power and Authority; Enforceability. Purchaser has the corporate power and
authority necessary to execute and deliver each Transaction Document and this Agreement to
which it is a party and to perform and consummate the Transactions. Purchaser has taken all
action necessary to authorize the execution and delivery by it of each Transaction Document to
which it is a party, the performance of its obligations thereunder, and the consummation by it of
the Transactions. Each Transaction Document to which Purchaser is a party has been duly
authorized, executed and delivered by such person or entity and is enforceable against it in
accordance with its terms.

        2.2       No Violation. The execution and the delivery by Purchaser of this Agreement
and the other Transaction Documents to which it is a party, the performance by them of its
obligations hereunder and thereunder, and the consummation of the Transactions by them will
not (a) with or without notice or lapse of time, constitute or create a breach or violation of, or
default under, any (i) law, rule, regulation or Order (“Law”) enacted, adopted, promulgated or
applied by any legislature, agency, bureau, branch, department, division, commission, court,
tribunal or other similar recognized organization or body of any federal, state, county, municipal,
local or foreign government or other similar recognized organization or body exercising similar
powers or authority (a “Governmental Body”), (ii) order, ruling, decision, award, judgment,
injunction or other similar determination or finding by, before or under the supervision of any
Governmental Body or arbitrator (an “Order”), (iii) contract or (iv) permit, license,
authorization, registration, franchise, approval, certificate, exemption, variance and similar right
obtained, or required to be obtained from a Governmental Body (a “Permit”) to which, in the
case of (i), (ii), (iii) or (iv), Purchaser is a party or by which it or its assets are bound, (b) require
any consent, approval, notification, waiver or other similar action under any contract or
organizational document to which Purchaser is a party or by which it or its assets are bound or
(c) require any Permit under any Law or Order.

       2.3     Due Diligence. The Purchaser acknowledges and represents that it has received
the due diligence package provided by the Arizona Entities in connection with the sale of the
Arizona Assets and has had an opportunity to conduct any and all due diligence regarding the
Arizona Assets prior to making its offer, that it has relied solely upon its own independent
review, investigation and/or inspection of any documents and/or the Arizona Assets in making its
bid, and that has nor relied upon any written or oral statements, representations, promises,
warranties or guaranties whatsoever, whether express, implied, by operation of law or otherwise,
regarding the Arizona Assets, or the completeness or accuracy of any information provided in
connection therewith. PURCHASER HEREBY ACKNOWLEDGES AND AGREES THAT
DELIVERY OF ANY INFORMATION REGARDING THE ARIZONA ASSETS TO
PURCHASER BY ARIZONA ENTITIES DOES NOT AND SHALL NOT CONSTITUTE
A REPRESENTATION OR WARRANTY BY ARIZONA ENTITIES. FURTHERMORE,
PURCHASER HEREBY ACKNOWLEDGES THAT THE ARIZONA ENTITIES MAKE
NO REPRESENTATIONS OR WARRANTIES REGARDING THE NATURE OR
QUALITY OF THE ARIZONA ASSETS AND THE ARIZONA ENTITIES WILL NOT BE
LIABLE FOR ANY INACCURATE OR INCOMPLETE INFORMATION PROVIDED
TO THE PURCHASER AND THE PURCHASER RETAINS THE SOLE AND
EXCLUSIVE RESPONSIBILITY TO INDEPENDENTLY CONFIRM ANY AND ALL
INFORMATION PROVIDED BY THE ARIZONA ENTITIES.



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        2.4    Commissions. Purchaser hereby represents and warrants that it is not now, nor
has ever been represented by any broker with respect to the transactions contemplated herein. In
the event of any claims for broker’s or finder’s fees in connection with the execution and
consummation of this Agreement, Purchaser shall protect, indemnify and defend the Arizona
Entities from and against such claims if they shall be based upon any statement or representation
or agreement by Purchaser. The Arizona Entities shall be responsible for paying all of the fees of
Colliers International.

                                           ARTICLE 3
                                         AS IS, WHERE IS

        The sale of the Arizona Assets shall be on an “as is, where is”, “with all faults” basis and
without representations or warranties of any kind, nature, or description by the Arizona Entities,
its agents or its estates, including without limitation representations and warranties as to physical
condition, title, ownership, authorization to sell, acreage, leases, rents, revenues, income,
expenses, operation, zoning or other regulation, compliance with state or federal law, compliance
with environmental or hazardous materials law, suitability for particular purposes or any other
matter whatsoever.

                                      ARTICLE 4
                         CLOSING CONDITIONS AND TERMINATION

        4.1        Conditions Precedent to Closing.

                 (a)     Purchaser’s Conditions Precedent. Purchaser's obligation to complete
          Closing shall be conditioned upon the satisfaction (or Purchaser's written waiver) of
          each of the conditions precedent set forth in this Section 4.1(a).

                             (i) Bidding Procedures Order: The Bankruptcy Court shall have
                     entered an order approving the sale of the Arizona Assets pursuant to a
                     competitive bidding process (the “Bidding Procedures”), substantially in the
                     form attached hereto as Exhibit C (the “Bidding Procedures Order”) or
                     otherwise in form and substance reasonably satisfactory to the Arizona
                     Entities.

                            (ii) Sale Order: The Bankruptcy Court shall have entered an order
                     pursuant to sections 105, 363, or 365 of the Bankruptcy Code authorizing and
                     approving the sale of the Arizona Assets on the terms set forth herein,
                     substantially in the form attached hereto as Exhibit D (the “Sale Order”) to
                     Purchaser or otherwise in form and substance reasonably satisfactory to the
                     Arizona Entities.

                  (b)     The Arizona Entities’ Conditions Precedent. Each of the Arizona
          Entities’ obligation to complete Closing shall be conditioned upon the satisfaction (or
          the Arizona Entities’ written waiver) of each of the conditions precedent set forth in this
          Section 4.1(b).

                            (i) Representations: Each of the representations and warranties as set


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                     forth in Article 2 shall be true, correct and complete in all material respects as
                     of the date of Closing.

                            (ii) Bidding Procedures Order: The Bankruptcy Court shall have
                     entered the Bidding Procedures Order substantially in the form annexed hereto
                     as Exhibit C or otherwise in form and substance reasonably satisfactory to the
                     Arizona Entities.

                            (iii) Sale Order: The Bankruptcy Court shall have entered the Sale
                     Order substantially in the form annexed hereto as Exhibit D or otherwise in
                     form and substance reasonably satisfactory to the Arizona Entities.

      4.2     Conditions Precedent to Closing. At any time prior to Closing, this Agreement
may be terminated as follows:

                      (a)    by the Arizona Entities, if any of the conditions in Section 4.1(b)
              shall become incapable of being satisfied (unless such circumstance is the result of
              any action or failure to act on the part of the Arizona Entities) and Purchaser shall
              not have waived such failure;

                      (b)    by the Arizona Entities, if the Bankruptcy Court or any other
              Governmental Body shall have issued an Order (which Order the Parties shall use
              their commercially reasonable efforts to lift), which permanently restrains, enjoins
              or otherwise prohibits the consummation of the proposed transactions contemplated
              by this Agreement and such Order shall have become final and non-appealable.

       4.3     Automatic Termination: In the event the Arizona Entities enter into an
agreement to sell all or substantially all of the Arizona Assets to a third party as a result of the
Bidding Procedures approved pursuant to the Bidding Procedures Order and the sale to said third
party closes, this Agreement shall automatically terminate. For the avoidance of doubt, no
break-up fee or any other payment will be due and owing to Purchaser if this Agreement is
terminated for any reason other than the return of the Deposit to Purchaser pursuant to the terms
hereunder in accordance with Section 4.4.

        4.4        Remedies.

                      (a)    If the Closing fails to occur by reason of failure, refusal or inability
              by the Arizona Entities to satisfy the Purchaser’s Condition Precedent set forth in
              Section 4(a) hereof, then Purchaser, as its sole remedy for such inability of the
              Arizona Entities, may terminate this Agreement by notice to the Arizona Entities. If
              Purchaser elects to so terminate this Agreement due to failure, refusal or inability of
              the Arizona Entities to satisfy the Purchaser’s Condition Precedent set forth in
              Section 4(a), then this Agreement shall be terminated and neither party shall have
              any further rights, obligations or liabilities hereunder, except for any and all
              obligations which are expressly stated herein to survive the Closing or any
              termination of this Agreement (the “Surviving Obligations”), and except that
              Purchaser shall be entitled to a return of the Deposit. Except as set forth in this
              Section, Purchaser hereby expressly waives, relinquishes and releases any other


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              right or remedy available to it at law, in equity or otherwise (including the
              remedy of specific performance) by reason of the failure, refusal or inability of
              the Arizona Entities to perform their respective obligations hereunder.

                      (b)     In the event of a default hereunder by Purchaser or if the Closing fails
              to occur by reason of Purchaser’s failure, refusal or inability to perform its
              obligations hereunder, then the Arizona Entities may terminate this Agreement by
              notice to Purchaser. If the Arizona Entities elect to terminate this Agreement due to
              Purchaser’s failure, refusal or inability to perform its obligations hereunder, then this
              Agreement shall be terminated and the Arizona Entities shall retain the Deposit as
              partial damages for losses, damages and expenses suffered by Arizona Entities. The
              Arizona Entities hereby expressly waive, relinquish and release any other remedies
              or damages they may have against Purchaser with respect to the Purchaser’s default
              hereunder or the failure of the Closing to occur by reason of Purchaser’s failure,
              refusal or inability to perform its obligation hereunder, including, but not limited to,
              the remedy of specific performance.

                                           ARTICLE 5
                                        MISCELLANEOUS

        5.1    Survival. Each representation and warranty of the Parties contained herein will
expire on the Closing and be of no further force or effect. Each covenant and obligation of the
Parties contained herein will survive the Closing in accordance with its terms.

        5.2     Entire Agreement. This Agreement, together with the other Transaction
Documents and all schedules, exhibits, annexes or other attachments hereto or thereto, and the
certificates, documents, instruments and writings that are delivered pursuant hereto or thereto,
constitutes the entire agreement and understanding of the Parties in respect of the subject matter
hereof and supersedes all prior understandings, agreements or representations by or among the
Parties, written or oral, to the extent they relate in any way to the subject matter hereof.

        5.3      Assignment; Binding Effect. No Party may assign either this Agreement or any
of its rights, interests or obligations hereunder without the prior written approval of the other
Parties, and any such assignment by a Party without prior written approval of the other Parties
will be deemed invalid and not binding on such other Parties. All of the terms, agreements,
covenants, representations, warranties and conditions of this Agreement are binding upon, inure
to the benefit of and are enforceable by, the Parties and their respective successors and permitted
assigns.

        5.4    Notices. All notices, requests and other communications provided for or
permitted to be given under this Agreement must be in writing and must be given by personal
delivery, by certified or registered United States mail (postage prepaid, return receipt requested),
by a nationally recognized overnight delivery service for next day delivery, or by facsimile
transmission, to the intended recipient at the address set forth for the recipient on the signature
page (or to such other address as any Party may give in a notice given in accordance with the
provisions hereof). All notices, requests or other communications will be effective and deemed
given only as follows: (i) if given by personal delivery, upon such personal delivery, (ii) if sent


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by certified or registered mail, on the fifth business day after being deposited in the United States
mail, (iii) if sent for next day delivery by overnight delivery service, on the date of delivery as
confirmed by written confirmation of delivery or (iv) if sent by facsimile, upon the transmitter’s
confirmation of receipt of such facsimile transmission, except that if such confirmation is
received after 5:00 p.m. (in the recipient’s time zone) on a business day, or is received on a day
that is not a business day, then such notice, request or communication will not be deemed
effective or given until the next succeeding business day. Notices, requests and other
communications sent in any other manner, including by electronic mail, will not be effective.

        5.5    Headings. The article and section headings contained in this Agreement are
inserted for convenience only and will not affect in any way the meaning or interpretation of this
Agreement.

        5.6  Governing Law. This Agreement will be governed by and construed in
accordance with the laws of the State of Nevada, without giving effect to any choice of law
principles.

       5.7    Schedules and Exhibits. The Schedules and Exhibits are incorporated herein by
reference and made a part of this Agreement.

        5.8     Amendment; Extensions; Waivers. No amendment, modification, waiver,
replacement, termination or cancellation of any provision of this Agreement will be valid, unless
the same is in writing and signed by all of the Parties hereto. Each waiver of a right hereunder
does not extend beyond the specific event or circumstance giving rise to the right. No waiver by
any Party of any default, misrepresentation or breach of warranty or covenant hereunder, whether
intentional or not, may be deemed to extend to any prior or subsequent default, misrepresentation
or breach of warranty or covenant hereunder or affect in any way any rights arising because of
any prior or subsequent such occurrence. Neither the failure nor any delay on the part of any
Party to exercise any right or remedy under this Agreement will operate as a waiver thereof, nor
does any single or partial exercise of any right or remedy preclude any other or further exercise
of the same or of any other right or remedy.

        5.9     Severability. The provisions of this Agreement will be deemed severable and the
invalidity or unenforceability of any provision will not affect the validity or enforceability of the
other provisions hereof; provided, however, that if any provision of this Agreement, as applied to
any Party or to any circumstance, is judicially determined not to be enforceable in accordance
with its terms, the Parties agree that the court judicially making such determination may modify
the provision in a manner consistent with its objectives such that it is enforceable, and/or to
delete specific words or phrases, and in its modified form, such provision will then be
enforceable and will be enforced.

       5.10 Expenses; Transfer Taxes. Except as otherwise expressly provided in this
Agreement, each Party will bear its own costs and expenses incurred in connection with the
preparation, execution and performance of this Agreement and the Transactions, including all
fees and expenses of agents, representatives, financial advisors, legal counsel and accountants.
Any and all transfer taxes, stamp taxes or similar taxes payable in connection with the
Transactions are waived pursuant to section 1146(a) of the Bankruptcy Code.


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       5.11 Counterparts; Effectiveness. This Agreement may be executed in one or more
counterparts, each of which will be deemed an original but all of which together will constitute
one and the same instrument.

        5.12 Construction. This Agreement has been freely and fairly negotiated among the
Parties. If an ambiguity or question of intent or interpretation arises, this Agreement will be
construed as if drafted jointly by the Parties and no presumption or burden of proof will arise
favoring or disfavoring any Party because of the authorship of any provision of this Agreement.
Any reference to any law will be deemed to refer to such law as in effect on the date hereof and
all rules and regulations promulgated thereunder, unless the context requires otherwise. The
words “include,” “includes,” and “including” will be deemed to be followed by “without
limitation.” The word “person” includes individuals, entities and Governmental Bodies.
Pronouns in masculine, feminine and neuter genders will be construed to include any other
gender, and words in the singular form will be construed to include the plural and vice versa,
unless the context otherwise requires. The words “this Agreement,” “herein,” “hereof,” “hereby,”
“hereunder,” and words of similar import refer to this Agreement as a whole and not to any
particular subdivision unless expressly so limited.

       5.13 Time of Essence. Time is strictly of the essence with respect to this Agreement
and each and every term and provision hereof and the transaction contemplated hereby.

       5.14 Possession of Arizona Assets. Purchaser shall be entitled to possession of the
Arizona Assets upon the Closing, provided, however, nothing herein shall constitute a
representation by Arizona Entities regarding the vacant condition of the Arizona Assets.

        5.15 Attorneys’ Fees. In the event of any litigation or arbitration between the parties
hereto with respect to the subject matter hereof, the unsuccessful party to such litigation or
arbitration shall pay to the successful party all costs and expenses, including, without limitation,
reasonable attorneys’ fees and expenses, incurred therein by the successful party, all of which
shall be included in and as a part of the judgment or decision rendered in such litigation or
arbitration.

        5.16 Further Assurances. Each of the parties hereto agrees to execute, acknowledge,
deliver and/or file such further certificates, instruments, or documents, and to do all such further
acts and things, as may be required by law, or as may reasonably be necessary or advisable to
carry out the intents and purposes of and transactions contemplated by this Agreement.

     5.17 THE ARIZONA ENTITIES AND PURCHASER HEREBY KNOWINGLY,
VOLUNTARILY, INTENTIONALLY, UNCONDITIONALLY AND IRREVOCABLY
WAIVE ANY RIGHT EACH MAY HAVE TO TRIAL BY JURY IN ANY ACTION,
PROCEEDING OR COUNTERCLAIM (WHETHER ARISING IN TORT OR
CONTRACT) BROUGHT BY EITHER AGAINST THE OTHER ON ANY MATTER
ARISING OUT OF OR IN ANY WAY CONNECTED WITH THIS AGREEMENT OR
ANY OTHER DOCUMENT EXECUTED AND DELIVERED BY EITHER PARTY IN
CONNECTION HEREWITH.

                               [SIGNATURE PAGES FOLLOW]



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                                 SCHEDULE I




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Schedule I ‐ Assets not disputed

The Arizona assets to be sold as part of the 363 sale include both personal property and real property. The
personal property can be categorized into two groupings:

        1) Office related equipment (i.e. computers waste baskets)

        2) Due diligence materials (i.e. maps, engineering plans) to the extent the same apply to the real
                property transferred and to the extent the same may be transferred by the Arizona Entities.



The real property to be sold consists of the following:

               A portion of Pravada ‐ a large Master Plan Community
                    o The boundaries of Pravada need to be “cleaned‐up” and are documented in Schedule II
               Four (4) model homes (without certificates of occupancy and which may need to be removed)
               Five (5) Ranchero homes in unfinished condition
               Nine (9) miscellaneous parcels within 5 miles of Pravada
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Office
Equipment
      #               Type            Description
      1     Office Furniture          1 - Drafting Table
      2     Office Furniture          Filing Cabinet - 2- 5 Drawer 63" x 18" Cabinets
      3     Office Furniture          Filing Cabinet -1- 3 Drawer 36" x 20" Cabinets
      4     Office Furniture          Filing Cabinet -7 - 4 Drawer 48" x 18" Cabinets
      5     Office Furniture          Filing Cabinet -2 - 4 Drawer 48" x 20" Cabinets
      6     Office Furniture          2 - 3 Shelf Bookcases
      7     Office Furniture          2 - Metal 4 Shelves
      8     Office Furniture          2 - Wood Shelves
      9     Office Furniture          1 - Hanging File for Plans
     10     Office Furniture          1 - Wooden 2 Door Cabinet
     11     Office Furniture          11 - Assorted Desks (2) Metal and (9) Wood
     12     Office Furniture          12 - Desk Chairs
     13     Office Furniture          12 - Guest Chairs
     14     Office Furniture          5 Stacking Chairs
     15     Office Furniture          1 - 4 x 6 Rotating White Board
     16     Office Furniture          1 - Garbage Can
     17     Office Furniture          10 - Wastebaskets
     18     Office Furniture          3 - 6' Tables
     19     Office Furniture          2 - Metal Storage Shelves - Dimensions 5' h x 3' w x 18.5" d
     20     Office Furniture          2 - Plastic Storage Shelves - Dimensions 6' h x 3' w x 18" d
     21     Computers                 1 - HP 5150 Desktop Computer Number 2UA6030J57
     22     Computers                 1 - HP WX4400 Desktop Computer Number 2UA70608F7
     23     Computers                 1 - Dell Desktop Computer Number GZOGR61
     24     Computers                 1 - HP NX9600 Laptop Computer Number CNF6071GBR
     25     Printers                  1 - HP Laserjet 4101 Number USLGY26030
     26     Printers                  1 - Color Laserjet 5550 Number JPDC4D2072
     27     Printers                  1 - Super G3 Printer Scanner Number J8141101150
     28     Fax Machines              2 - HP Office Jets 7310
     29     Miscellaneous             1 - Dell Power Edge Server 2850 Number 85172579422
     30     Miscellaneous             1 - HP Design jet 1055 CM Plus Plotter
     31     Miscellaneous             8 - Battery Surge Boxes and Power Strips
     32     Miscellaneous             2 - 20" Flat Screen Computer Monitors
     33     Miscellaneous             4 - Calculators
     34     Miscellaneous             14 - Telephones
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Due Diligence Materials
TBD
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                                                     ²
                                                                                                                                                       BROOK DR                                                                                           BROOK DR                                                                            BROOK DR




                                                                                                                                                                                                                                                                                                                                                                                                                       AVRA RD
                                                                                                                                                                                                                                                                                                                                                                                             AJO RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    KABA RD
                                                                                                                                                                                                                                                                                                                                                                                  ADOBE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                     HEBER RD
                                                                                                                                                                                                                                                                                                     SHIPP DR




                                                                                                                                                                       COVE RD
                                                                                                                         EMERY PARK RD




                                                                                                                                                                                                                                                                                                                             SANTA MARIA RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             BOSQUE RD
                                                                                                                                                                                                                                                                               LOCHIEL RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                           BACOBI RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 HOUCK RD
                                                                                                                                                                                                                     MORMON FLAT RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                   HOPE RD
                                                                                                                                                                                                                                                                                                                                                                                             CRYSTAL DR, GV




                                                                                                         ELFRIDA RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       BIBO RD
                                                                                                                                     ESTRELLA RD
                                                                                                EDEN RD
                    GOLDEN VALLEY




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     BOWIE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               TOOMAN RD
                                                                                                                                                                                                                                                                                                                                          VERDE RD
                                                                                                                                                                                 ABRIGO DR




                                                                                                                                                                                                                                                                                                                       SALT RD
                                                                                                                                               CARRIZO RD
                                                                                                                                                           CONCHO RD




                                                                                                                                                                                                                                                                LIGURTA RD


                                                                                                                                                                                                                                                                                         COLORADO RD, GV
                                                                                                                                                                                                                                                                                                                                                                    T 021 N                   306-42-001
                  PROPERTY FOR SALE
                                                                                                                                                                                                                                                                                                                                                                                                                                                        COLLINS DR
                                                                                                                                                                                                                                                                                                                                                                    R 018 W
                                                                                         T 021 N                                                                              REDWALL DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                               306-30-006




                                                                                                                                                                                                                                  TEDDY ROOSEVELT RD
                                                                                         R 019 W
                                                                                                                                                                                                                                                                                                       RAINWATER DR
                                                                                                                                                                                                                                                                                                                                                       306-42-008A




                                                                                                              ELGIN RD
                                                                                  DRAKE RD




                                                                                                                                                                     COVE RD




                                                                                                                                                                                                                                                                                                                                                                                                                          AZTEC RD, GV
                                                                                                                               DIABASE DR                                                                                                                                                                  DIABASE DR




                                                                                                                                                                                                                                                                                                                                                                                                   AMADO RD AMADO RD
                                                                                                                                                                                                                                                                                                                                                                                         AJO RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         021N017W
                                                                                                                                           021N019W                                                                                                                                                                                            021N018W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             306-30-011




                                                                                                                                                                              LAGUNA RD, GV
                OWNER                APN_NO         AREA              BOLSA DR                                                                                                                                                                                         BOLSA DR




                                                                                                                                                                                                                                                                                                                                                            MAVERICK RD
                                                                                                   EHRENBERG RD
RHODES HOMES ARIZONA LLC        215-01-093             1.06
                                                                                                                                                                                                                                                                           DUBIN DR




                                                                    DON LUIS RD




                                                                                                                              ESCUELA RD




                                                                                                                                                                                                    GLEN CANYON RD




                                                                                                                                                                                                                                                                                                                                                                      MOBILE RD
                                                                                                                                                                                                                                                                                                                                                 MAGMA RD
                                                                                                                                                                                          DAVIS RD
                                                                                                                   ELOY RD
                                                                                                                                                                                                                         CHUAR DR                                                                                                                                                                                                          306-24-116




                                                                                         EGAR RD
RHODES HOMES ARIZONA LLC        215-01-097             1.06                                                                                                                                                                                              DUNLAP DR

RHODES HOMES ARIZONA LLC        306-30-011             40.2                                                                                                                                                                                                                                          UNKAR DR                                                                                                                                                         306-24-115
                                                                                                                                                                                                                                                                                                                                                                                                                   306-63-017




                                                                                                              ELGIN RD
RHODES HOMES ARIZONA LLC        306-30-006            39.87




                                                                         DRAGOON RD




                                                                                                                                           CANELO RD
                                                                                                                                                     CIBOLA RD
                                                                                     DUGAS RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    306-63-018
RHODES HOMES ARIZONA LLC        215-17-005            38.34
                                                                                                                                                                    TAPEATS DR

                                                                                                                                                                                                                                                                                               215-17-006                                                                                                                                                                               BALLARD DR
RHODES HOMES ARIZONA LLC        215-17-006            39.39                                                       SHINARUMP RD                                                                             215-17-005
RHODES HOMES ARIZONA LLC        215-17-009            39.32




                                                                                                                                                                   AMETHYST




                                                                                                                                                                                                                                                                                                                                                       RAMADA RD
                                                                                                                                                         JADE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        MOHAVE RD
ELKHORN INVESTMENTS INC         217-11-147              2.5




                                                                                                                       NACO RD
                                                                                                                                  HOPI RD
                                                                                                                                             PIMA RD
                                                                                                                                                                                                                                                                                                                    MOENKOPI DR




                                                                                                                                                                                                        SPINEL RD
                                                                                                                                                                                                                        HALITE RD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         215-01-093
ELKHORN INVESTMENTS INC         217-11-148              2.5
                                                                                                                                                          HUALAPAI DR
ELKHORN INVESTMENTS INC         217-11-156              2.5




                                                                                                                                                                                                                                                                                                                                                                                                SACRAMENTO RD
                                                                                                                                                                                                                                             215-17-009




                                                                  TOM REED RD




                                                                                                            KAIBAB RD
ELKHORN INVESTMENTS INC         217-11-222             2.35




                                                                                                                                                                            ZIRCON RD
                                                                                                                                                                   AMETHYST



                                                                                                                                                                                              OPAL RD
                                                                                CERBAT DR                                                                                                                                                                                            CERBAT DR




                                                                                                                                                                                                                                                                           SIGNAL RD
ELKHORN INVESTMENTS             217-11-212             2.35
RHODES ARIZONA PROPERTIES LLC   306-24-116            20.24                                                                                                                                               CHEMEHUEVI DR
                                                                                                                                                                                                                                                                                                    FUTURE
RHODES ARIZONA PROPERTIES LLC   306-24-115            20.25




                                                                                                                                                                                                                 MUSCOVITE RD
                                                                                                                                                   HAVASUPAI RD
                                                                                                                  PAPAGO RD
                                                                                                                                                                                                                                                                                                  NEW CREDIT                                                                                                                                                                              215-01-097




                                                                                                                                                                                                                                               AGATE RD
                                                                                                                                  HOPI RD
                                                                                                                                                                                                                                                               UTE DR                             BOUNDARY                                                                                                              UTE DR
RHODES ARIZONA PROPERTIES LLC   306-63-017             7.61
RHODES ARIZONA PROPERTIES LLC   306-63-018             6.83                020N019W
                                                                                                           T 020 N                                                                                                                                                                                           AQUARIUS DR, GV                                                                    T 020 N                                                                     AQUARIUS RD, GV
                                                                                                           R 019 W
RHODES ARIZONA PROPERTIES LLC   306-42-001             39.9




                                                                                                                                                                                                                                                           DESERT VIEW TRAIL
                                                                                                                                                                                                                                                                                                                                                                                                R 018 W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TAMPICO RD
                                                                                                                                                                                                                                                                                     KINGMAN TRAIL
                                                                                                                                                                                       TURQUIOISE




                                                                                                                                                                                                                                                                                                                                                                                                                                               CENTENNIAL RD
                                                                                                                                                                                                                              EPIDOTE RD
                                                                                                                                                              PERIDOT RD
                                                                                                                                                                                                                                                                                                                                                                           DIABLO DR




                                                                                                                                                                        TOPAZ RD
RHODES ARIZONA PROPERTIES LLC   306-42-008A           19.92                                                                                                                                                                                                                                                                             VOLCANIC DR
                                                                                                                                                                                                                                                                                                                                                                              ANZA DR

RHODES ARIZONA PROPERTIES LLC   FUTURE               1310.5

                                                                                L




                                                                                                                                                                                                 GARNET RD, GV
                                                                              HP
                                                                                                                                                                                                                                                                                                                                                                      GRANADA DR




                                                                                                                                                                                                                                                                                                                                                      RAMADA RD
                                                                                                ASH DR                                     ASH DR                                                                                                                                                                                                                                                                                                                                            ASH DR
                                           TOTAL:    1636.7                 AS




                                                                                                                                                                                                                                                                                                           TOMBSTONE TRAIL
                                                                                                                                                                                                                                                                                                                         IMPERIAL DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                               PENCEK RD
                                                                                                                                                                           ZIRCON RD
                                                                                                                           CHIRICAHUA RD




                                                                                                                                                                                                             MUSCOVITE RD
                                                                                                                                                        JADE RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TAMPICO RD
                                                                                                                                                                                                                                                                                                                                                                                                                        JAGUAR RD
                                                                                                           KAIBAB RD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            GRAHAM RD
                                                                                                                                                                                                                                                                                                                               ZORA DR




                                                                                                                                                                                                                                      FLINT RD
                                                                                                                                                                                                                                                       JASPER RD
                                                                                                                                                                                                                                                                           WINGATE DR
                                                                                                                                                                                                                                                                                                                             FLORIAN DR                                                      020N018W




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           YUMA RD
                                                                                                                                                                                                                                                                                                                             MOROCCO DR
                                                                                                                                              217-11-156                                                                                                                                                                                                                                                                         QUARTZITE DR
                                                                                                                                                                                                                                                                               RONDA DR                                                                                              D   R
                                                                                                                                                                                                                                                                                                                          R                  RAMON DR                             HI
                                                                                                                                                                                                                                                                                                                LI     ID
                                                                                                                                                                                                                                              217-11-222                                                      BA   FAR
                                                                                                                                                                                                                                                                                                               MAYAN DR              E   ZENTIFF DR
                                                                                                                                                                                                                                                                                                                                  IN
                                                                                                                                                                                                                                                                                                             Y SA              EL
                                                                                                                                                                                                                                                                                                           HW               PIP             VAQUERO DR
                                                                                                      217-11-148                                                                                                                                                                TOLUCA DR               AN    TOLUCA DR
                                                                                                                                                                                                                                                                                                  ST TM                            DAWSON DR
                                                                                                                                                                                                                                                                                                M  OA
                                                                                                                                                                                                                                                                                            INU
                                                                                                                                                                                                                                                                                          AT




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           COCONINO RD
                                                                                                                                                                                                                                                                                                                                                                                                                                 TUZIGOOT RD
                                                                                                                                                                                                                                                                                        PL
                                                                                                                                                                                                                                                                                            GERONIMO DR




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  YAVA RD

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                PINE RD
                                                                          019N019W                                217-11-147                                                                                                                                                                                          019N018W
                                                                                                                                                                                              217-11-212
                                                                                                                                                   NAVAJO DR                                                                                                       NAVAJO DR                                                                   NAVAJO DR
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                              SCHEDULE I.1(b)(i)


                               Assumed Contracts




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                                                               Schedule 1.1(b)(i)



                             RHODES ARIZONA CONTRACTS TO BE ASSUMED AND ASSIGNED TO THE RHODES ENTITIES

CONTRACT COUNTER-                  DEBTOR             TYPE OF               PROJECT/DEVELOPMENT              CURE AMOUNT (LESS
PARTY NAME &                                          CONTRACT                                               RETAINER OR DEPOSIT
SERVICE ADDRESS

Utilities Inc.                     Rhodes Homes       Provision of water    Golden Valley Ranch, Mohave      $0.00
2335 Sanders Rd                    Arizona, LLC       service               County, AZ
Northbrook, IL 60062-6108
County of Mohave                   Rhodes Arizona     Development           Golden Valley Ranch/Pravada      $0.00
Development Services               Properties, LLC;   Agreement/Specific
3675 E. Andy Devine Ave.           Rhodes Homes       Zoning Plan
Kingman, AZ 86401                  Arizona, LLC
Lexon Insurance Company            Rhodes Homes       Bond                  Bond # 5022081 (Mohave AZ—       $0.00
Bond Safeguard Insurance           Arizona, LLC                             golden Valley Ranch Phase 1
Company                                                                     Grading)
1919 S Highland Dr. Bldg. A
Suite 300
Lombard, IL 60148




73203-002\DOCS_LA:210795.2
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                                SCHEDULE II




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Schedule II ‐ Land Swap

Prior to the commencement of the 363 sale, some administrative actions need to take place to “clean
up” the ownership records. This clean‐up is required because there are discrepancies between the
debtor’s accounting records and the state/county records.

The following actions are required to perform this clean up:

              Pravada Land Swap – as the master plan community of Pravada was being mapped, the
                boundaries of the project changed. Not all of these changes were captured by the
                municipalities
                    o Parcels A, B, C, D – land to be added to the estate from Rhodes Related Entities
                        (Non‐Debtor)
                    o Parcels 1, 2, 3, 4 – land to be removed from the estate and given to Rhodes
                        Related Entities (Non‐Debtor)
              Miscellaneous parcels ‐ land to be removed from the estate and given to Rhodes
                Related Entities (Non‐Debtor



This document contacts an itemized list of the real assets that need to be cleaned up.
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LIST OF ALL PARCELS INTO ESTATE FROM RHODES ENTITIES (NON­DEBTOR)



    APN                                      Acres

    306‐63‐009                                                             ‐8.0

    306‐63‐010                                                             ‐8.0

    306‐63‐011                                                             ‐8.0

    306‐63‐012                                                             ‐8.0

    306‐63‐013                                                             ‐8.0

    306‐24‐091                                                           ‐20.57

    354‐34‐045a                                                          ‐30.01

    AREA "A"                                                              ‐1.17

    AREA "B"                                                             ‐44.13

    AREA "C"                                                             ‐10.42

    AREA "D"                                                              ‐9.36

                                 TOTAL:                                  ‐155.7



LIST OF ALL PARCELS INTO ESTATE FROM RHODES ENTITIES (NON­DEBTOR)



     PRAVADA                        AREA 1                                         60.64
     PRAVADA                        AREA 2                                         13.39
     PRAVADA                        AREA 3                                         33.25
     PRAVADA                        AREA 4                                         23.29
                                                      TOTAL:                      130.57
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                                                                                                                                                                    YVETTE RD




                                                                                                                                                              ST
                                                                                                    CALLE BLANCA




                                                                                          ST
                                                                                                                            CALLE CADENA




                                                                                                                                                              A
                                                                                            OC




                                                                                                            N BANK ST




                                                                                                                                                         K
                                                                                                                                                                     PATE RD




                                                                                                                                                      PE
                                                                                                                            CALLE RIALTO                                            LOOP DR




                                                                                             KT
                                                                                                                                                                      SIM RD




                                                                                                                                                   TO
           T 022 N                                                             T 022 N




                                                                                               ON
           R 018 W                                                             R 017 W                                    T 022 N                                                  T 022 N




                                                                                                 HIL
               022N018W                                                       022N017W                                    R 016 W                                                  R 015 W
                                                                                                                                                                   022N015W




                                                                                                    LR
                                                                                                                         022N016W                         R
                                                                                                                                                      D
                                       SUNDOWN DR




                                                                                                       D
                                                                                                                                                  C
                                                                                                        THOMPSON AVE                           PI




                                                                                                                                  66
                                                                                                                                              M
                                                                                                      NORTHERN AVE                         LY




                                                                                                                                 Y
                                                                                                                                       O




                                                                                                                             HW
                                                                                                 SIERRA VISTA AVE
          AGUA FRIA DR




                                                                                                                             E
                                                                                                    GORDON DR




                                                                                                                          AT
          BURRO DR, GV
                                                                                                                                                                  354-34-045A




                                                                                                                        ST
                                            KABA RD




                CHINO DR                                                                            MORROW AVE




                                                                                                                                                 CORRAL DR
                                                                                                                                                 CAMINO DR
              MAZATZAL DR                                      HW
             AJO RD




                           SHIPP DR
                                                                     Y
                                                                         93
                                                                                                 KINGMAN                                                                       RD
                                                                                                                                                                          WIND
                       COLLINS DR
                                                                  T 021 N                                   LOUISE AVE
                                                                                                                         PINTO RD                                  WE S T
          T 021 N
                                TOOMAN RD




                                                         021N017W                                                                                                       I-40
                                BOSQUE RD




          R 018 W                                                 R 017 W                                           T 021 N                                                     T 021 N
                                                                                              B EALE
               021N018W                                                                              ST 021N016W R 016 W                                           021N015W R 015 W
                                                                                                                                                                              OL D H
                                                                                                                 LYN H                                                               WY 9
                            BACOBI RD




                                                                                                                                                                                             3
                             HOPE RD




                                                                                                               SS
                                                                                                            RO         UA




                                                                                                                                                                               D
          UNKAR DR                                                                                                        LA




                                                                                                                                                                          HR
                                                                                             6 6                             PA
                                    TAPEATS DR                                             Y                                    IM
                                                                                        HW




                                                                                                                                                                          NC
                                                                                                                                   TN
                                                                                    L D                                               RD




                                                                                                                                                                       RA
                                                                                  O                               LAW
                                                  APACHE RD




                                                                                                                      M AN




                                                                                                                                                                     DW
                                                                                                                           DR




                                                                                                                                                 U
                                                                             Y
         PRAVADA



                                                                                                                                               Y
                                                                           HW




                                                                                                                                             Y
                                                                       N




                                                                                                                                          Z
                                                                                                                        BANDIT DR
                                                                    MA




                                                                                                                                       LA
                                                                T
                                                              OA
               UTE DR
            T 020 N                                                               T 020 N
            R 018 W                                           020N017W                                                            T 020 N                                            T 020 N
                                                                                  R 017 W                     020N016W                                               020N015W
                                                                                                                                  R 016 W                                            R 015 W
                                      GRAHAM RD




                      020N018W

                           INE
                      EL
               PIP         DAWSON DR
                      019N018W                                                   019N017W                                        019N016W                                      019N015W
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                                     EXHIBIT A


                                     Bill of Sale




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                                         BILL OF SALE

        For good and valuable consideration, the receipt and adequacy of which are hereby
acknowledged, and pursuant to the Asset Transfer Agreement (the “Transfer Agreement”), dated
March [__], 2010, by and among Rhodes Arizona Properties, LLC, a Nevada limited liability
company, Elkhorn Investments, Inc., a Nevada corporation, and Rhodes Homes Arizona, LLC,
an Arizona limited liability company (collectively, “Seller”) hereby unconditionally and
irrevocably grant, bargain, transfer, sell, assign, convey, and deliver to Sagebrush Enterprises,
Inc., a Delaware corporation (“Buyer”), its successors, and assigns forever, all right, title, and
interest, legal or equitable, in and to the Arizona Assets (as defined in the Transfer Agreement) to
have and to hold the Arizona Assets unto Buyer and its successors and assigns forever.

         The scope, nature, and extent of the Arizona Assets are expressly set forth in the Transfer
Agreement. Nothing herein contained will itself change, amend, extend, or alter (nor should it
be deemed or construed as changing, amending, extending, or altering) the terms or conditions of
the Transfer Agreement in any manner whatsoever. This instrument does not create or establish
rights, liabilities, or obligations not otherwise created or existing under or pursuant to the
Transfer Agreement. Seller acknowledges and agrees that the representations, warranties,
covenants, agreements, and indemnities contained in the Transfer Agreement will not be
superseded hereby but will remain in full force and effect to the full extent provided therein. In
the event of any conflict or inconsistency between the terms of the Transfer Agreement and the
terms of this instrument, the terms of the Transfer Agreement will govern.

        Nothing in this instrument, express or implied, is intended or shall be construed to confer
upon or give to, any person, firm or corporation other than Buyer and its successors and assigns
any remedy or claim under or by reason of this instrument or any term, covenant, or condition
hereof, and all of the terms, covenants, conditions, promises, and agreements in this instrument
shall be for the sole and exclusive benefit of Buyer and its successors and assigns.

       This instrument will be binding upon Seller and its successors and assigns, and inure to
the benefit of and be enforceable by Buyer and its successors and assigns.

                               [SIGNATURE PAGE FOLLOWS]




                                                 1
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        IN WITNESS WHEREOF, this Bill of Sale is being executed and delivered by Seller on
the date first written above.


                                                 RHODES ARIZONA PROPERTIES, LLC



                                                 By:
                                                       Name:
                                                       Title:


                                                 ELKHORN INVESTMENTS, INC.



                                                 By:
                                                       Name:
                                                       Title:


                                                 RHODES HOMES ARIZONA, LLC



                                                 By:
                                                       Name:
                                                       Title:
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                                     EXHIBIT B


                                Quit Claim Deed




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  Recording Requested by:


  When recorded mail to:




                                                   (The area above is reserved for recorder's use)

                                         QUITCLAIM DEED

        FOR VALUABLE CONSIDERATION, receipt of which is hereby
  acknowledged, RHODES ARIZONA PROPERTIES, LLC, a Nevada limited liability
  company, ELKHORN INVESTMENTS, INC., a Nevada corporation, and RHODES
  HOMES ARIZONA LLC, an Arizona limited liability company (together,
  “Grantor”), each hereby quitclaims to SAGEBRUSH ENTERPRISES, INC., a
  Delaware corporation (“Grantee”), the following interests:

                    All right, title and interest of Grantor, if any, in and
                    to the property described on Exhibit A attached
                    hereto and made a part hereof.

                             [Remainder of page intentionally blank]




  EAST-#8273497-v1-Rhodes_AZ_Property_Quit_Claim_Deed (2).DOC
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         IN WITNESS WHEREOF, the undersigned has caused this Quitclaim Deed to
  be duly made as of ______________.


  RHODES ARIZONA PROPERTIES, LLC, a Nevada limited liability company

  By:
  Name:
  Its:

  ELKHORN INVESTMENTS, INC., a Nevada corporation

  By:
  Name:
  Its:


  RHODES HOMES ARIZONA LLC, an Arizona limited liability company

  By:
  Name:
  Its:




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                                 ACKNOWLEDGMENT
                            RHODES ARIZONA PROPERTIES, LLC

  STATE OF ____________________________________)
                                           ) ss.
  COUNTY OF__________________________________)



                  On ___________ before me,                                      , Notary
  Public, personally appeared                                                           ,
  personally known to me to be the person(s) whose name(s) is/are subscribed to the
  within instrument and acknowledged to me that he/she/they executed the same in
  his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
  instrument the person(s), or the entity upon behalf of which the person(s) acted,
  executed the instrument.

                    WITNESS my hand and official seal.




  Notary Public




  EAST-#8273497-v1-Rhodes_AZ_Property_Quit_Claim_Deed (2).DOC
Case 09-14814-gwz            Doc 1215-8           Entered 07/27/10 19:25:56    Page 32 of 55



                                   ACKNOWLEDGMENT
                                ELKHORN INVESTMENTS, INC.


  STATE OF ____________________________________)
                                           ) ss.
  COUNTY OF__________________________________)



                  On ___________ before me,                                      , Notary
  Public, personally appeared                                                           ,
  personally known to me to be the person(s) whose name(s) is/are subscribed to the
  within instrument and acknowledged to me that he/she/they executed the same in
  his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
  instrument the person(s), or the entity upon behalf of which the person(s) acted,
  executed the instrument.

                    WITNESS my hand and official seal.




  Notary Public




  EAST-#8273497-v1-Rhodes_AZ_Property_Quit_Claim_Deed (2).DOC
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                                   ACKNOWLEDGMENT
                                RHODES HOMES ARIZONA LLC


  STATE OF ____________________________________)
                                           ) ss.
  COUNTY OF__________________________________)



                  On ___________ before me,                                      , Notary
  Public, personally appeared                                                           ,
  personally known to me to be the person(s) whose name(s) is/are subscribed to the
  within instrument and acknowledged to me that he/she/they executed the same in
  his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
  instrument the person(s), or the entity upon behalf of which the person(s) acted,
  executed the instrument.

                    WITNESS my hand and official seal.




  Notary Public




  EAST-#8273497-v1-Rhodes_AZ_Property_Quit_Claim_Deed (2).DOC
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                                              Exhibit A
                                           Legal Description




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    Case 09-14814-gwz   Doc 1215-8    Entered 07/27/10 19:25:56   Page 35 of 55




                                     EXHIBIT C


                            Bidding Procedures Order




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                   Entered on Docket
                   March 30, 2010        __________________________________
                                                  Hon. Linda B. Riegle
                                            United States Bankruptcy Judge
___________________________________________________________
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                                     EXHIBIT D


                                     Sale Order




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                                                                7

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                                                                9   Werner Disse, Esq. (CA Bar No. 143458)
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                                                               11   Los Angeles, California 90067-4100
                                        (702) 382 1169




                                                                    Telephone: 310/277-6910
                                                               12   Facsimile: 310/201-0760
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                                                               13          scho@pszjlaw.com
      Las Vegas, Nevada 89101
      LARSON & STEPHENS




                                                                           wdisse@pszjlaw.com
                                                               14
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                                                               16   810 S. Casino Center Blvd., Ste. 104
                                                                    Las Vegas, NV 89101
                                                               17   Telephone: 702/382.1170
                                                                    Facsimile: 702/382.1169
                                                               18
                                                                    Email: zlarson@lslawnv.com
                                                               19
                                                                    Attorneys for Reorganized Debtors and
                                                               20   Debtors in Possession

                                                               21                                  UNITED STATES BANKRUPTCY COURT

                                                               22                                             DISTRICT OF NEVADA

                                                               23   In re:                                                  Case No.: BK-S-09-14814-LBR
                                                                                                                            (Jointly Administered)
                                                               24

                                                               25   1
                                                                      The Debtors in these cases, along with their case numbers are: Heritage Land Company, LLC (Case No. 09-
                                                               26   14778); The Rhodes Companies, LLC (Case No. 09-14814); Tribes Holdings, LLC (Case No. 09-14817); Apache
                                                                    Framing, LLC (Case No. 09-14818); Geronimo Plumbing LLC (Case No. 09-14820); Gung-Ho Concrete LLC (Case
                                                               27   No. 09-14822); Bravo, Inc. (Case No. 09-14825); Elkhorn Partners, A Nevada Limited Partnership (Case No. 09-
                                                                    14828); Six Feathers Holdings, LLC (Case No. 09-14833); Elkhorn Investments, Inc. (Case No. 09-14837); Jarupa,
                                                               28   LLC (Case No. 09-14839); Rhodes Realty, Inc. (Case No. 09-14841); C & J Holdings, Inc. (Case No. 09-14843);
                                                                    Rhodes Ranch General Partnership (Case No. 09-14844); Rhodes Design and Development Corporation (Case No.
                                                                    09-14846); Parcel 20, LLC (Case No. 09-14848); Tuscany Acquisitions IV, LLC (Case No. 09-14849); Tuscany
                                                                    Acquisitions III, LLC (Case No. 09-14850); Tuscany Acquisitions II, LLC (Case No. 09-14852); Tuscany

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                                                                    THE RHODES COMPANIES, LLC, aka
                                                                1   “Rhodes Homes,” et al.,1                                Chapter 11
                                                                2
                                                                2                                Debtors.
                                                                3
                                                                    Affects:                                       Hearing Date: TBD
                                                                3
                                                                4          All Debtors                             Hearing Time: TBD
                                                                4           Affects the following Debtor(s)        Courtroom 1
                                                                5   Rhodes Homes Arizona, LLC; Rhodes Arizona
                                                                5   Properties, LLC; and Elkhorn Investments, Inc.
                                                                6
                                                                6    ORDER (A) APPROVING THE SALE OF CERTAIN OF THE DEBTORS’ ARIZONA
                                                                7        ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS AND
                                                                7   ENCUMBRANCES PURSUANT TO SECTION 363(F) FO THE BANKRUPTCY CODE;
                                                                8      (B) APPROVING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
                                                                8                          CONTRACTS THERETO;
                                                                9                    AND (C) GRANTING RELATED RELIEF
                                                                9
                                                               10
                                                               10
                                                               11           This matter coming before the Court on the Reorganized Debtors’ Motion for an Order
                                        (702) 382 1169




                                                               11
                                                               12
                                                                    (A) Approving the Sale of Certain of the Debtors’ Arizona Assets Free and Clear of All Liens,
                                                               12
810 S. Casino Center Blvd., Suite 104




                                                               13
                                                               13   Claims, Interests and Encumbrances Pursuant to Section 363(f) of the Bankruptcy Code, (B)
      Las Vegas, Nevada 89101
      LARSON & STEPHENS




                                                               14
                                                               14   Approving the Assumption and Assignment of Executory Contracts Thereto; and (c) Granting
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                                                               15
                                                               15   Related Relief [Docket No. __] (the “Motion”); the Court having previously entered the Order
                                                               16
                                                               16
                                                               17   Approving the Bidding Procedures for the Sale of Certain of the Debtors’ Arizona Assets; (B)
                                                               17
                                                               18   Approving Form of Publication Notice; and (C) Schedule Sale Hearing Date [Docket No. __];
                                                               18
                                                               19   all interested parties having been duly served with appropriate notice and having been afforded
                                                               19
                                                               20
                                                                    an opportunity to be heard with respect to the Motion; the Court having considered the pleadings
                                                               20
                                                               21
                                                               21   relating to the Motion, including the supporting declarations, arguments at the hearing; and after
                                                               22
                                                               22   due deliberation, and good cause appearing therefore,
                                                               23
                                                               23
                                                               24   IT IS HEREBY ORDERED:
                                                               24
                                                               25
                                                               25
                                                               26
                                                               26
                                                               27   Acquisitions, LLC (Case No. 09-14853); Rhodes Ranch Golf Country Club, LLC (Case No. 09-14854); Overflow,
                                                               27   LP (Case No. 09-14856); Wallboard, LP (Case No. 09-14858); Jackknife, LP (Case No. 09-14860); Batcave, LP
                                                               28   (Case No. 09-14861); Chalkline, LP (Case No. 09-14862); Glynda, LP (Case No. 09-14865); Tick, LP (Case No.
                                                               28   09-14866); Rhodes Arizona Properties, LLC (Case No. 09-14868); Rhodes Homes Arizona, L.L.C. (Case No. 09-
                                                                    14882); Tuscany Golf Country Club, LLC (Case No. 09-14884); and Pinnacle Grading, LLC (Case No. 09-14887).


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                                                                1             1.      The Motion is approved. Any objections received to the Motion are overruled.
                                                                2
                                                                2             2.      The highest and best offer received by the Arizona Debtors for the Arizona
                                                                3
                                                                3    Assets is the Asset Transfer Agreement attached hereto as Exhibit A from ______ (the
                                                                4
                                                                4    “Successful Bidder”), whose highest bid was $________. The Asset Transfer Agreement is
                                                                5
                                                                5    hereby approved.
                                                                6
                                                                6             3.      If the sale to the Successful Bidder does not close within the time frame
                                                                7
                                                                7    contemplated by the Asset Transfer Agreement, then at the sole discretion of the Arizona
                                                                8
                                                                8    Debtors, the second highest bid received by _________ in the amount of $_______ shall be
                                                                9
                                                                9    deemed the Successful Bidder for purposes of this Order.
                                                               10
                                                               10             4.      Pursuant to sections 105(a), 363(b) and (f) of the Bankruptcy Code, the Arizona
                                                               11
                                        (702) 382 1169




                                                               11    Debtors are authorized to execute the Asset Transfer Agreement and take any and all actions
                                                               12
                                                               12    necessary to effectuate the transfer the Arizona Assets to the Successful Bidder in accordance
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                                                               13
                                                               13    with the terms of the Bidding Procedures Order, this Order, and the Asset Transfer Agreement.
      Las Vegas, Nevada 89101
      LARSON & STEPHENS




                                                               14
                                                               14             5.      Pursuant to section 363(f) of the Bankruptcy Code, the sale of the Arizona Assets
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                                                               15
                                                               15    shall be free and clear of all claims, liens, interest or encumbrances other than Permitted
                                                               16
                                                               16    Encumbrances (as defined in the Asset Transfer Agreement), with all such claims, interests, or
                                                               17
                                                               17    encumbrances attaching to the proceeds of the sale in the same order, priority, and extent as
                                                               18
                                                               18    previously existed, subject to any claims and defenses the Arizona Debtors may possess thereto.
                                                               19
                                                               19    Any holder of a claim, lien, interest or encumbrance who did not timely file an objection to the
                                                               20
                                                               20    Motion is deemed to have consented to the sale of the Arizona Assets to the Successful Bidder
                                                               21
                                                               21    pursuant to section 365(f)(2) of the Bankruptcy Code.
                                                               22
                                                               22             6.      Pursuant to sections 365(b), (c) and (f) of the Bankruptcy Code, the Arizona
                                                               23
                                                               23    Debtors are authorized to assume and assign to the Successful Bidder the executory contracts
                                                               24
                                                               24    that are identified in Schedule 1.1(b)(i) to the Asset Transfer Agreement (the “Assumed
                                                               25
                                                               25    Contracts”). Upon payment of the cure amount, if any, as indicated on the Exhibit __ to the
                                                               26
                                                               26    Motion, all defaults under the Assumed Contracts, if any, shall be deemed satisfied and the
                                                               27
                                                               27    Assumed Contracts shall be deemed assumed and assigned to the Successful Bidder as of the
                                                               28
                                                               28    Closing Date and the Successful Bidder shall be deemed to have provided adequate assurance of



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                                                                Case 09-14814-gwz                Doc 1215-8   Entered 07/27/10 19:25:56     Page 54 of 55



                                                                1    its future performance under the Assumed Contracts within the meaning of sections 365(b) and
                                                                2
                                                                2    (f) of the Bankruptcy Code.
                                                                3
                                                                3             7.      The sale transaction contemplated by the Asset Transfer Agreement is
                                                                4
                                                                4    undertaken in good faith by the Successful Bidder and the Successful Bidder is entitled to all the
                                                                5
                                                                5    protections of under section 363(m) of the Bankruptcy Code. The reversal or modification on
                                                                6
                                                                6    appeal of the authorization provided herein to consummate the sale transaction shall not affect
                                                                7
                                                                7    the validity of the sale to the Successful Bidder, except to the extent such authorization is duly
                                                                8
                                                                8    stayed pending such appeal prior to such consummation.
                                                                9
                                                                9             8.      Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), the Arizona Debtors
                                                               10
                                                               10    and the Successful Bidder are authorized to immediately consummate the sale of the Arizona
                                                               11
                                        (702) 382 1169




                                                               11    Assets to the Successful Bidder.
                                                               12
                                                               12             9.      The Bankruptcy Court shall retain jurisdiction to resolve any matters arising
810 S. Casino Center Blvd., Suite 104




                                                               13
                                                               13    from or relating to the implementation of this Order.
      Las Vegas, Nevada 89101
      LARSON & STEPHENS




                                                               14
                                                               14
                                        T l (702) 382 1170 F




                                                               15
                                                                    Submitted by:
                                                               15
                                                               16
                                                               16   DATED this 26th day of March 2010.
                                                               17
                                                               17   By:    /s/Zachariah Larson
                                                               18   LARSON & STEPHENS
                                                               18   Zachariah Larson, Esq. (NV Bar No. 7787)
                                                               19
                                                                    Kyle O. Stephens, Esq. (NV Bar No. 7928)
                                                               19
                                                               20   810 S. Casino Center Blvd., Ste. 104
                                                               20   Las Vegas, NV 89101
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                                                               21   (702) 382-1169
                                                               22   zlarson@lslawnv.com
                                                               22   Attorneys for Debtors and Debtors in Possession
                                                               23
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                                                                                                              LR 9021 Certification
                                                                1
                                                                2
                                                                2
                                                                3
                                                                            In accordance with LR 9021, counsel submitting this document certifies as follows
                                                                3
                                                                4
                                                                    (check one):
                                                                4
                                                                5
                                                                            ___ The court has waived the requirement of approval under LR 9021.
                                                                5
                                                                6
                                                                            ___ This is a chapter 7 or 13 case, and either with the motion, or at the hearing, I have
                                                                6
                                                                7
                                                                    delivered a copy of this proposed order to all counsel who appeared at the hearing, any
                                                                7
                                                                8
                                                                    unrepresented parties who appeared at the hearing, and each has approved or disapproved the
                                                                8
                                                                9
                                                                    order, or failed to respond, as indicated below [list each party and whether the party has
                                                                9
                                                               10
                                                                    approved, disapproved, or failed to respond to the document]:
                                                               10
                                                               11
                                                                                 This is a chapter 9, 11, or 15 case, and I have delivered a copy of this proposed order
                                        (702) 382 1169




                                                               11
                                                               12
                                                                    to all counsel who appeared at the hearing, any unrepresented parties who appeared at the
                                                               12
810 S. Casino Center Blvd., Suite 104




                                                               13
                                                                    hearing, and each has approved or disapproved the order, or failed to respond, as indicated below
                                                               13
      Las Vegas, Nevada 89101
      LARSON & STEPHENS




                                                               14
                                                                    [list each party and whether the party has approved, disapproved, or failed to respond to the
                                                               14
                                        T l (702) 382 1170 F




                                                               15
                                                                    document]:
                                                               15
                                                               16
                                                                              _ I certify that I have served a copy of this order with the motion, and no parties
                                                               16
                                                               17
                                                                    appeared or filed written objections.
                                                               17
                                                               18
                                                               18
                                                               19   Submitted by:
                                                               19
                                                               20   DATED this 26th day of March, 2010.
                                                               20
                                                               21   By: /s/ Zachariah Larson
                                                               21      LARSON & STEPHENS
                                                               22
                                                                       Zachariah Larson, Esq. (NV Bar No 7787)
                                                               22
                                                               23      Kyle O. Stephens, Esq. (NV Bar No. 7928)
                                                               23      810 S. Casino Center Blvd., Ste. 104
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                                                               25      (702) 382-1169
                                                               25      zlarson@lslawnv.com
                                                               26
                                                                       Attorneys for Debtors
                                                               26
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